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Attorneys for Defendant

                         IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO

    UNITED STATES OF AMERICA,          )
                                       )                     CASE NO. 4:22-CR-0282-BLW
               Plaintiff,              )
                                       )                     DEFENDANT BREK PILLING’S
    vs.                                )                     UNOPPOSED MOTION TO VACATE
                                       )                     TRIAL DATE AND FOR A FINDING
    BREK PILLING,                      )                     OF EXCLUDABLE DELAY
                                       )
               Defendant.              )
    __________________________________ )

       The Defendant Brek Pilling, through counsel, moves the Court for its Order vacating the

date presently set for trial; resetting the matter for trial to a date between September and

December, 2023, or in the alternative to August 14, 2023 in Boise (as described more fully in the

accompanying declaration of undersigned counsel); and finding that the delay resulting from

granting the present motion is “excluded in computing … the time within which the trial of [this

matter] must commence,” 18 U.S.C. § 3161(h), because “the ends of justice served by taking

such action outweigh the best interest of the public and the defendant in a speedy trial.” 18

U.S.C. § 3161 (h)(7)(A).

       This motion is filed because a medical emergency in the family of Mr. Nevin, counsel for




UNOPPOSED MOTION TO VACSTE TRIAL AND FOR A FINDING OF EXCLUDABLE DELAY - 1
Mr. Pilling, has required counsel to break off preparation for trial for an uncertain period, making

it impossible, despite the exercise of due diligence, for Mr. Nevin to be prepared to render

constitutionally effective assistance of counsel to Mr. Pilling on the date presently set for trial,

July 24, 2023.

        This situation is complicated by the fact that the government has provided unusually

voluminous discovery. See Joint Stipulation to Continue Trial Date, Dkt. 24, April 12, 2023, p.

2, para. 1. This has made the case in effect “so unusual or so complex, due to the … nature of

the prosecution … that it is unreasonable to expect adequate preparation for pretrial proceedings

or for the trial itself within the time” presently set for trial. 18 U.S.C. § 3161(h)(7)(B)(ii).

        However, and given the current situation, even if this case is not considered “unusual or

complex,” a failure to grant the present motion would “deny counsel for [Mr. Pilling] … the

reasonable time necessary for effective preparation, taking into account the exercise of due

diligence,” and would “result in a miscarriage of justice.” 18 U.S.C. §§ 3161(h)(7)(B)(iv), (i).

        The government has authorized undersigned counsel to represent that it does not oppose

the present motion to vacate, and requests that the trial be reset to August 14, 2023 or to a date in

or after March of 2024 (as described more fully in the accompanying declaration of undersigned

counsel).

        This motion is supported by the declaration of Mr. Nevin, contemporaneously filed.

        DATED this 20th day of June, 2023.

                                        NEVIN, BENJAMIN & McKAY LLP


                                        /s/ David Z. Nevin
                                        David Z. Nevin
                                        Counsel for Brek Pilling




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 20th day of June, 2023, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which caused the following parties or
counsel to be served by electronic means, as more fully reflected on the Notice of Electronic
Filing:

         United States Attorney’s Office
         Cassandra Barnum
         Cassandra.barnum@usdoj.gov
         Francis Zebari
         Frank.zebari@usdoj.gov



                                       /s/ David Z. Nevin
                                       David Z. Nevin




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